                      IN THE UNITED STATES BANKRUPTCY COURT
                           NOTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISON


IN RE:

Wanda Brown,                        )
SSN: XXX-XX-7896,                   )
                                    )                CASE NO.: 21-82163-CRJ-13
                                    )
      Debtor.                       )                CHAPTER 13
___________________________________ )
                                    )
Wanda Brown,                        )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )                AP NO.:
                                    )
Vinebrook Homes LLC,                )
                                    )
      Defendant.                    )


                                  ADVERSARY PROCEEDING

         COMES NOW the Plaintiff, Wanda Brown, and alleges as follows:


                                              FACTS

         1. The Plaintiff, Mrs. Brown, is the Debtor in the above-referenced Chapter 13
            bankruptcy case. This case was commenced on April 12, 2021.

         2. VineBrook Homes LLC (hereinafter “VineBrook Homes”) is a real estate company
            specializing in acquiring, renovating and leasing single family homes.

         3. Mrs. Brown originally listed in the bankruptcy schedules a debt to VineBrook Homes
            for arrearage on her rent. Notice of the filing was provided to VineBrook Homes at its
            place of business.

         4. Since the filing of the case, Ms. Brown has remained current with her mothly rental
            payments to VineBrook Homes.

         5. Commencing after the filing of the chapter 13 case, VineBrook Homes has been
            sending text and email correspondence and posting notices on Ms. Brown’s door,

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          demanding payment on the debt included in the bankruptcy. VineBrook Homes has
          made threats that if the debt is not paid, in full, she will be evicted from the property



                                          COUNT I
                               Violation of the Automatic Stay

       6. The allegations contained in the proceeding paragraphs are incorporated herein by
          reference.

       7. Vinebrook Homes has notice of the commencement of the case. Despite having
          notice of the commencement of the case, Vinebrook Homes has continued to contact
          the Debtor demanding payment. Vinebrook Homes has willfully violated the
          automatic stay in place in this case.

       8. Plaintiff seeks compensatory and punitive damages, including attorney’ fees and costs
          incurred in connection with the prosecution of this adversary proceeding.


         WHEREFORE, THE ABOVE PREMISES CONSIDERED, Plaintiff seeks an award
against Vinebrook Homes for compensatory and punitive damages, including attorney’s fees and
costs incurred in the prosecution of this adversary proceeding, and whatever other and further
relief that the Court deems appropriate.

       Dated the 8th day of March, 2022.


                                                     Respectfully submitted,


                                                     s/ Melissa W. Larsen
                                                     Melissa W. Larsen
                                                     Attorney for Debtor/Plaintiff

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